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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                   Identification of BRIAN LEO KELLY

        The FBI posted images on its website of individuals involved in the events of January 6,
2021, and sought the public’s assistance in identifying them. The FBI posted “Be On the Lookout”
(BOLO) Photograph #26, and numerous tipsters contacted the FBI in response. Through
investigation, the FBI was able to conclusively determine that some of those tips identified
individuals who were not present inside the U.S. Capitol on January 6, 2021, and were not the
individuals depicted in Photograph #26. The FBI did not pursue those leads further. Two other
tips, however, provided useful information that the affiant was able to later confirm. Both of those
tips identified an older white male wearing a blue Trump hat and holding a cellular phone in his
hand while walking through the U.S. Capitol building, as BRIAN LEO KELLY (circled below).




                     Image 1: FBI BOLO Photograph #26 (red circle added)

       One anonymous tipster who identified KELLY in Photograph #26 provided information
that KELLY runs a business in Northern Virginia called Affordable Oil Tank Removal. The tipster
provided KELLY’s work email address as ExcavatiXXXX@gmail.com and KELLY’s work
phone number as (703) 608-XXXX.

       A second tipster identified the individual in Photograph #26 as KELLY, and stated that the
same image appeared in a Hulu documentary called “Special Assault on the Capitol.” The tipster
agreed to be interviewed in-person, and that person identified KELLY and stated that he/she has
had regular contact with KELLY at a location in Northern Virginia.

        According to records obtained through a search warrant which was served on Google, a
mobile device associated with ExcavatiXXXX@gmail.com was present at the U.S. Capitol on
January 6, 2021. Google estimates device location using sources including GPS data and
information about nearby Wi-Fi access points and Bluetooth beacons. This location data varies in
its accuracy, depending on the source(s) of the data. As a result, Google assigns a “maps display
radius” for each location data point. Thus, where Google estimates that its location data is accurate
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to within 10 meters, Google assigns a “maps display radius” of 10 meters to the location data
point. Finally, Google reports that its “maps display radius” reflects the actual location of the
covered device approximately 68% of the time. In this case, Google location data shows that a
device associated with ExcavatiXXXX@gmail.com was within the U.S. Capitol building on
January 6, 2021.
       Through a subpoena issued to T- Mobile, the affiant confirmed that the cellphone
associated with telephone number (703) 608-XXXX is registered to KELLY. Through additional
database queries, the affiant further confirmed KELLY has provided (703) 608-XXXX as his
contact number during past interactions with local law enforcement, and that this same phone
number is used by KELLY for various businesses that he runs out of his residence in Northern
Virginia.


                        KELLY’S Involvement in the Events of January 6, 2021

      The affiant reviewed United States Capitol Police (“USCP”) CCTV from January 6, 2021.
The CCTV showed that KELLY entered the U.S. Capitol at approximately 2:35 p.m. through the
Upper West Terrace Door.




 Image 2: KELLY entered the U.S. Capitol through the Upper West Terrace Door at 2:35 p.m.

       After entering, KELLY headed east and walked up a staircase to the second floor. KELLY
entered around Rotunda at roughly 2:37 p.m., where he raised his cellphone above his head and
filmed as he walked through the area.
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             Image 3: KELLY walked through the Rotunda while filming on his cellphone.

       At approximately 2:39 p.m., KELLY walked through Statuary Hall to the Statuary Hall
Connector, and he continued to film events on his cellphone. KELLY remained in the area around
Statuary Hall and the Connector for roughly ten minutes, and in that time, KELLY joined the
crowd in chanting in the Statuary Hall Connector, filmed and took calls on his cellphone.




         Image 4: KELLY chanted with the crowd in the Statuary Hall Connector at 2:41 p.m.
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                    Image 5: KELLY filmed with his cellphone by the Statuary Hall.

       KELLY walked back into the Rotunda at approximately 2:48 p.m., where he continued to
take calls and photos with his cellphone. KELLY exited the U.S. Capitol building at 3:11 p.m.
through the Rotunda door.




        Image 6: KELLY exited the U.S. Capitol building at 3:12 p.m. after standing for several
                              minutes near the Rotunda Door.

         Your affiant submits that there is probable cause to believe that KELLY violated 18 U.S.C.
§ 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain in any restricted
building or grounds without lawful authority to do so; (2) knowingly, and with intent to impede or
disrupt the orderly conduct of Government business or official functions, engage in disorderly or
disruptive conduct in, or within such proximity to, any restricted building or grounds when, or so
that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business or
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